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In re: Liddle & Robinson LLP                                                                   Case No. 19-12346
                           Debtor                                                              Reporting Period: March 1, 2020 - March 31, 2020

                                         SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
attached for each account. [See MOR-1 (CON’T)]


                                                                                                                                                               Cumulative
                                                                                                                               Current Month                  Filing to Date
                                                                                                                                  Actual                          Actual
                                        (1)
Cash - Beginning of Month                                                                                                             $2,507,472                     $144,218


Cash Receipts
  L&R Income                                                                                                               $               64,966         $         3,853,233
  Other                                                                                                                                     2,874                      10,351
  Transfer                                                                                                                              2,200,000                   4,854,518
Total Cash Receipts                                                                                                        $            2,267,840         $         8,718,103

Cash Disbursements
  Rent                                                                                                                     $                    - $                  (108,121)
  Attorney Payroll                                                                                                                        (27,026)                   (240,473)
  Headhunter                                                                                                                                    -                     (32,500)
  JLL Draw                                                                                                                                      -                    (150,000)
  Staff Payroll                                                                                                                           (14,445)                    (83,797)
  New Hire (Paralegal/Assistant)                                                                                                                -                           -
  Insurance (Health / Life / Other)                                                                                                       (22,317)                    (92,044)
  Malpractice Insurance                                                                                                                    (5,568)                    (51,279)
  Utilities                                                                                                                                     -                           -
  Office Services (Solarus Technologies)                                                                                                   (2,000)                    (16,000)
  Repairs/Maintenance                                                                                                                           -                           -
                                                                                                                                                                                 (2)
  Other Operating Expenses                                                                                                                 (9,115)                   (440,679)
  Accounting Services                                                                                                                           -                     (20,000)
  Taxes                                                                                                                                   (11,500)                    (11,500)
  Bank Fees                                                                                                                                   (10)                       (282)
  Transfer                                                                                                                             (2,200,000)                 (4,854,518)
Total Ordinary Disbursements                                                                                               $           (2,291,981) $               (6,101,195)
Reorganization Items
  UST Fees                                                                                                                 $                          -   $            (6,826)
  Bankruptcy Counsel                                                                                                                                  -              (261,233)
  Accountants                                                                                                                                         -                (9,737)
  Unsecured Creditors Professionals                                                                                                                   -                     -
Total Reorganization Items                                                                                                 $                          -   $          (277,796)

Total Disbursements (Ordinary + Reorg)                                                                                     $           (2,291,981) $               (6,378,990)

Net Cash Flow (Total Receipts - Total Disbursements)                                                                       $               (24,141) $               2,339,112

Beginning Bank Cash                                                                                                                   $2,507,472 $                    144,218
  Net Cash Flow                                                                                                                          (24,141)                   2,339,112
Ending Cash Balance                                                                                                        $           2,483,331 $                  2,483,331


                                              THE FOLLOWING SECTION MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)


                                                                                                                                                               Cumulative
                                                                                                                               Current Month                  Filing to Date
                                                                                                                                  Actual                          Actual

Total Disbursements                                                                                                        $            2,291,981 $                 6,378,990
  Less: Transfers to Other Debtor In Possession Accounts                                                                               (2,200,000)                   (305,781)
  Plus: Estate Disbursements made by outside sources (i.e. from escrow accounts)                                                                -                           -
Total Disbursements for Calculating U.S. Trustee Quarterly Fees                                                            $               91,981 $                 6,073,209

Notes:
(1)
      The initial cash balance recorded in the Liddle & Robinson (“L&R”) monthly operating report (“MOR”) for July, 2019 was overstated in error.
      The overstatement is due to the inclusion of cash receipts that were in Jeffrey Lew Liddle’s (“JLL”) Wells Fargo DIP account which he
      collected on behalf of L&R. These cash receipts were included in the July 2019 MOR cash balance but they should have been offset against
      expenses JLL paid on behalf of the L&R estate. This was a clerical accounting error.
      In November of 2019, a reconciliation was performed to determine the amounts due to or from JLL for payments he received and made on
      behalf of the L&R estate. This reconciliation resulted in a net settlement to the JLL estate of $305,781 and was reflected in the November 2019
      L&R MOR. However, this reconciliation and settlement did not correct the clerical accounting error related to the balance sheet cash.
      In January of 2020 the mistakes made in the prior preparation of the L&R MOR’s were discovered and beginning cash in the January MOR
      has been corrected so that cash now reconciles to the bank statements.
(2)
      Cumulative column includes reimbursements to the JLL DIP account. Please refer to the November 2019 monthly operating
      report for additional details (Attachment I).


                                                                                                                                                                                             FORM MOR - 1
                                                                                                                                                                                                   2/2008
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In re Liddle & Robinson LLP                                                                     19-12346
      Debtor                                                                                    March 1, 2020 - March 31, 2020

                                                                         BANK RECONCILIATIONS
    Continuation Sheet for MOR-1
    A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
    (Bank account numbers may be redacted to last four numbers.)


                                                 IDB                          IDB                          IOLA                        IOLA                   TOTAL
                                                 #7401                        #0399                        #2441                       #1618
    BALANCE PER                        $                 281,565     $           2,201,465       $                     100 $                    200 $               2,483,331
    BOOKS

    BANK BALANCE                       $                 281,565 $               2,201,465 $                           100 $                    200 $               2,483,331
    (+) DEPOSITS IN                    $                        - $                       - $                            - $                      - $                       -
    TRANSIT (ATTACH
    LIST)
    (-) OUTSTANDING                    $                        - $                          - $                          -    $                 -   $                         -
    CHECKS (ATTACH
    LIST) :
    OTHER (ATTACH                      $                        - $                          - $                          -    $                 -   $                         -
    EXPLANATION)

    ADJUSTED BANK                      $                 281,565     $           2,201,465       $                     100 $                    200 $               2,483,331
    BALANCE *
    *"Adjusted Bank Balance" must equal "Balance per Books"


    DEPOSITS IN TRANSIT                           Date                       Amount                         Date                       Amount




    CHECKS OUTSTANDING                           Ck. #                       Amount                        Ck. #                       Amount




    TOTAL                              $                         -                                $                        -

    OTHER




                                                                                                                                                         FORM MOR-1 (CONT.)
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In re: Liddle & Robinson LLP                            Case No. 19-12346
                      Debtor                            Reporting Period: March 1, 2020 - March 31, 2020

                                                  CASH RECEIPTS

Description                        Account      Date         Amount                                Category
Transfer                           IDB #0399   3/10/2020 $     2,200,000   Transfer to IDB #0399
Deposit                            IDB #7401   3/16/2020          24,990   Cash collections - Client Fee Payment
Other                              IDB #7401   3/23/2020             100   Bank Fee Reversal
Deposit                            IDB #7401   3/24/2020          39,976   Cash collections - Client Fee Payment
Other                              IDB #7401   3/31/2020           1,308   Bank Interest Credit
Other                              IDB #0399   3/31/2020           1,465   Bank Interest Credit
Total Cash Receipts                                      $     2,267,840




                                                                                                     FORM MOR-1 - Cash Receipts
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In re: Liddle & Robinson LLP                         Case No. 19-12346
                        Debtor                       Reporting Period: March 1, 2020 - March 31, 2020

                                                                DISBURSEMENTS

Payee                                    Account     Date            Amount                                          Purpose
  Solarus Technologies                   IDB #7401     3/3/2020 $          2,000   Office Services (Solarus Technologies)
  AFCO                                   IDB #7401     3/3/2020            5,568   Malpractice Insurance
  Oxford Health Insurance                IDB #7401     3/3/2020            5,918   Insurance (Health / Life / Other)
  Globe Storage & Moving                 IDB #7401     3/3/2020            7,903   Other Operating Expenses
  Principal Life Insurance               IDB #7401     3/3/2020           16,400   Insurance (Health / Life / Other)
  PACER                                  IDB #7401     3/4/2020               18   Other Operating Expenses
  Dep Rtn Close Acct #1012               IDB #7401     3/4/2020              713   Other Operating Expenses - Client Refund
  S/C Dep Rtn                            IDB #7401     3/4/2020               10   Other Operating Expenses - Client Refund
  PayChex, Inc.                          IDB #7401     3/4/2020           20,055   Attorney/Staff Payroll
  AT&T                                   IDB #7401     3/5/2020              273   Other Operating Expenses
  Transfer                               IDB #7401    3/10/2020        2,200,000   Transfer to IDB #0399
  NYS Department of Taxation & Finance   IDB #7401    3/17/2020            1,500   Taxes
  MMS Fees Exc                           IDB #7401    3/18/2020               10   Bank Fees
  NYC Department of Taxation & Finance   IDB #7401    3/18/2020           10,000   Taxes
  PayChex, Inc.                          IDB #7401    3/20/2020            1,360   Attorney/Staff Payroll
  PayChex, Inc.                          IDB #7401    3/20/2020           20,055   Attorney/Staff Payroll
  Tyler Morris                           IDB #7401    3/31/2020              199   Other Operating Expenses - employee reimbursement
Total Disbursements for the Month                               $      2,291,981




                                                                                                                                 FORM MOR-1 - Disbursements
                                                                                                                                                     2/2008
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In re: Liddle & Robinson LLP                                                                Case No. 19-12346
               Debtor                                                                       Reporting Period: March 1, 2020 - March 31, 2020

                                                         STATEMENT OF OPERATIONS
                                                                       (Income Statement)
The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                       Current                    Cumulative
                                                                                                       Month                     Filing to Date
Revenue
              (1)
  Fee Income                                                                                 $                     64,966    $            3,815,958
  Less: Client Refunds                                                                                               (723)                   (4,660)
  Other                                                                                                             2,874                     6,127
Total Revenue                                                                                $                     67,117    $            3,817,426

Operating Expenses
  Rent                                                                                       $                          -    $             (108,121)
  Total Payroll                                                                                                   (41,471)                 (368,021)
  Health Insurance                                                                                                 (5,918)                  (42,593)
  Life Insurance                                                                                                  (16,400)                  (49,199)
  Malpractice Insurance                                                                                            (5,568)                  (51,279)
  Client Charges                                                                                                        -                   (14,999)
  Office Charges                                                                                                        -                   (20,623)
  Accounting Services (Tax / Benefit / Other)                                                                           -                   (22,428)
  Recruiter Fees                                                                                                        -                   (32,500)
  Taxes                                                                                                           (11,500)                  (11,500)
  Other Operating Expenses                                                                                        (10,403)                  (67,941)
Total Operating Expenses                                                                     $                    (91,259)   $             (789,205)

Net Operating Income                                                                         $                    (24,141)   $            3,028,221

Reorg Items
  UST Fees                                                                                                              -                    (6,826)
                                                                                                                                                       (2)
  Professional Fees                                                                                                     -                  (990,096)
Total Reorg Items                                                                            $                          -    $             (996,922)

Net Income (Loss)                                                                            $                    (24,141)   $            2,031,299
Note:
1)
   Pending the reconciliation of the pre-petition Accounts Receivable balance, Fee Income is reported on a cash basis.
2)
   Amount is accrued professional fees through 12/31/2019 and have not included any incremental professional fees since as this is prepared on a
cash-basis.




                                                                                                                                           FORM MOR 2 - IS
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In re: Liddle & Robinson LLP                               Case No. 19-12346
               Debtor                                      Reporting Period: March 1, 2020 - March 31, 2020

                                                       BALANCE SHEET

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from
post-petition obligations.

                                                                                 Book Value End of       Book Value on Petition
                                                                                  Current Month                  Date
ASSETS
Current Assets
  Cash                                                                       $             2,483,331      $               95,207
  Accounts Receivable, net (1)                                                               pending                     pending
Total Current Assets                                                         $             2,483,331      $               95,207

Fixed Assets                                                                                     315                         525
Prepaid expenses (Security Deposit)                                                           17,600                      17,600
Other Assets                                                                                       -                           -
Total Assets                                                                 $             2,501,245      $              113,332

LIABILITIES AND PARTNER'S CAPITAL
Liabilities Not Subject to Compromise
  Accounts Payable (2)                                                       $                     -      $                      -
  Taxes Payable (refer to FORM MOR-4)                                                              -                             -
  Wages Payable (3)                                                                                -                             -
  Notes Payable                                                                                    -                             -
  Rent / Leases - Building/Equipment                                                               -                             -
  Secured Debt / Adequate Protection Payments                                                      -                             -
  Professional Fees                                                                          719,127                             -
  Amounts Due to Insiders*                                                                         -                             -
  Other Post-petition Liabilities (attach schedule)                                                -                             -
Total Liabilities Not Subject to Compromise                                  $               719,127      $                      -

Liabilities Subject to Compromise
Secured Debt - Disputed in Part
  LIG Capital loan                                                           $               506,078      $              506,078
  LOC-CF Holdings ($1M)                                                                    1,054,242                   1,054,242
  LOC-Counsel Fin II                                                                       5,325,000                   5,325,000
Secured Debt - Disputed in Part                                                            6,885,319                   6,885,319

  Other Secured Debt                                                         $               664,954                     664,954
  Accounts Payable (Pre-petition)                                                            538,474                     538,474
                             (4)
  Other Current Liabilities                                                                   81,311                      50,706
Total Liabilities Subject to Compromise                                      $             8,170,058      $            8,139,453

Partner's Capital                                                            $            (6,387,939)     $           (8,026,121)

Total Liabilities and Partner's Capital                                      $             2,501,245      $              113,332

Notes: *"Insider" is defined in 11 U.S.C. Section 101(31).
1)
   See Explanation Regarding Accounts Receivable on page 8.
2)
   Post-petition amounts are paid current.
3)
   Wages are paid current.
4)
   Includes pre-petition taxes payable and other fringe benefits withheld.

                                                                                                                         FORM MOR 3 - BS
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In re: Liddle & Robinson   Case No. 19-12346
              Debtor       Reporting Period: March 1, 2020 - March 31, 2020



                           Explanation Regarding Accounts Receivable


                           The Debtor recently filed amended and restated monthly operating reports for the
                           previously filed July - October 2019 monthly operating reports pending the
                           reconciliation of the pre-petition Accounts Receivable balance. As part of the
                           accounting review process for 2018/2019, it was discovered that the pre-petition
                           Accounts Receivable balance was not properly reconciled. The Debtor's Accounts
                           Receivable consist primarily of client fee payments related to judgments and
                           settlements of cases. The Income Statement reflects the Fee Income from clients on
                           a cash basis versus an accrual basis. The Debtor has removed all references to
                           Accounts Receivable from the monthly operating report until the amounts have
                           been corrected, and the Trustee is considering whether performing a full
                           reconciliation is either necessary or advisable.




                                                                                                       FORM AR Explanation
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In re Liddle & Robinson LLP                                                               Case No. 19-12346
      Debtor                                                                     Reporting Period: March 1, 2020 - March 31, 2020

                                                                 STATUS OF POST-PETITION TAXES
    The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
    amount should be zero.
    Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
    Attach photocopies of any tax returns filed during the reporting period.
                                                             Amount
                                                             Withheld
                                            Beginning         and/or          Amount
    Federal                                   Tax            Accrued           Paid           Date Paid              Check # or EFT       Ending Tax
    Withholding                            $             -   $    2,837      $     2,837       Various       EFT                      $                -
    FICA-Employee
    FICA-Employer
    Unemployment
    Income
    Other:_____________
      Total Federal Taxes                  $             -   $    2,837      $     2,837                                              $                -
    State and Local
    Withholding
    Sales
    Excise
    Unemployment
    Real Property
    Personal Property
    Other: NYC Income Tax                  $             -                   $ 10,000         3/18/2020 EFT                           $                -
    Other: NYS Filing Fee                  $             -                   $ 1,500          3/17/2020 EFT                           $                -
     Total State and Local                 $             -   $           -   $ 11,500                                                 $                -

    Total Taxes                            $             -   $    2,837      $ 14,337                                                 $                -

                                                         SUMMARY OF UNPAID POST-PETITION DEBTS
    Attach aged listing of accounts payable.
                                                                                         Number of Days Past Due
                                               Current           0-30            31-60           61-90                     Over 91           Total
    Accounts Payable
    Wages Payable
    Taxes Payable
    Rent/Leases-Building
    Rent/Leases-Equipment
    Secured Debt/Adequate
    Protection Payments
    Professional Fees                      $     719,127
    Amounts Due to Insiders
    Other:______________
    Other:______________
    Total Post-petition Debts
    Explain how and when the Debtor intends to pay any past due post-petition debts.




                                                                                                                                                           FORM MOR-4
                                                                                                                                                                2/2008
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In re Liddle & Robinson LLP                                                            Case No. 19-12346
      Debtor                                                                  Reporting Period: March 1, 2020 - March 31, 2020


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                       Accounts Receivable Reconciliation                         Amount
    Total Accounts Receivable at the beginning of the reporting period
    Plus: Amounts billed during the period
    Less: Amounts collected during the period
    Total Accounts Receivable at the end of the reporting period


    Accounts Receivable Aging                                     Amount
    0 - 30 days old
    31 - 60 days old
    61 - 90 days old
    91+ days old
    Total Accounts Receivable

    Less: Bad Debts (Amount considered uncollectible)

    Net Accounts Receivable


    Note: Accounts Receivable amounts excluded from financials pending reconciliation of pre-petition balances.

                                                         TAXES RECONCILIATION AND AGING

    Taxes Payable                                                 0-30 Days      31-60 Days        61-90 Days         91+ Days          Total
    0 - 30 days old
    31 - 60 days old
    61 - 90 days old
    91+ days old                                                                                                  $        44,909
    Total Taxes Payable                                                                                           $        44,909   $      44,909
    Total Accounts Payable                                                                                        $       538,474   $     538,474



                                                                                                                                                    FORM MOR-5
                                                                                                                                                          2/2008
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In re Liddle & Robinson LLP                                                                            Case No. 19-12346
      Debtor                                                                                  Reporting Period: March 1, 2020 - March 31, 2020


                                                          PAYMENTS TO INSIDERS AND PROFESSIONALS

    Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
    Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
    (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                                    INSIDERS

                 NAME                                 TYPE OF PAYMENT                             AMOUNT PAID            TOTAL PAID TO DATE




                                                      TOTAL PAYMENTS TO INSIDERS              $                      -   $                        -
    Notes:

                                                                                         PROFESSIONALS
                                          DATE OF COURT ORDER AUTHORIZING                                                                                                  TOTAL INCURRED &
                 NAME                                PAYMENT                                  AMOUNT APPROVED                AMOUNT PAID              TOTAL PAID TO DATE       UNPAID*
    Foley Hoag                                                               19-Dec-19 $                  437,852        $           261,233          $        261,233     $       606,800
    EisnerAmper                                                              19-Dec-19                    $27,986                      7,309                     7,309              67,896
    Richard J. Lynne, CPA                                                                                                              2,428                     2,428              44,431




                                              TOTAL PAYMENTS TO PROFESSIONALS                                                                         $        270,969     $       719,127
    * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



                      POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                               AND ADEQUATE PROTECTION PAYMENTS
                                                                                                   AMOUNT PAID           TOTAL UNPAID POST-
         NAME OF CREDITOR                 SCHEDULED MONTHLY PAYMENT DUE                           DURING MONTH               PETITION




                                                                      TOTAL PAYMENTS




                                                                                                                                                                                                FORM MOR-6
                                                                                                                                                                                                      2/2008
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In re Liddle & Robinson LLP                                                                Case No. 19-12346
      Debtor                                                                      Reporting Period: March 1, 2020 - March 31, 2020


                                                              DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                  Yes                                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                                X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                                      X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                                       X
       Are workers compensation, general liability or other necessary insurance
   4   coverages expired or cancelled, or has the debtor received notice of                                           X
       expiration or cancellation of such policies?
   5 Is the Debtor delinquent in paying any insurance premium payment?                                                X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                                          X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                                 X
   8 Are any post petition payroll taxes past due?                                                                    X
   9 Are any post petition State or Federal income taxes past due?                                                    X
  10 Are any post petition real estate taxes past due?                                                                X
  11 Are any other post petition taxes past due?                                                                      X
  12 Have any pre-petition taxes been paid during this reporting period?                                              X
  13 Are any amounts owed to post petition creditors delinquent?                                                      X
  14 Are any wage payments past due?                                                                                  X
     Have any post petition loans been received by the Debtor from any
  15 party?                                                                                                           X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                                        X
     Is the Debtor delinquent with any court ordered payments to attorneys or
  17 other professionals?                                                                                             X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                                   X

       Notes:




                                                                                                                                     FORM MOR-7
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"#$%& '( )*)* +,"#$%& -'( )*)*,,                 .#/0,' 12,>,, ,,,,,,,,,,,,,,,,,,,




                                                                                                                        E5I91;0$ H0$PF%0




                                                                                                                                                                                                  9004-09-XX-XXXXXXX-0001-0016125
                                                       0008813           SP       9004          -C09-P00000-I
                                                                                                                               "#F8 Z22F%0
                                                       %*BB%$ G 3'#*(,'( %%C                                                   >'' UF29& 7P0850
                                10101010101010101010
                                11001000000000010101
                                10001001010111111000
                                10100001001010110011
                                10000010101010110110
                                10001110110001110111
                                10011111001011011100
                                10001011011101001011
                                10110010100000000010
                                                       H'(6)>6( % ;%6I$3 6, )32,)$$                                            :0R J1$D(,:J,'**'Y
                                11110111001000100001
                                10010101000101000110
                                11100010100111101001
                                11110010010010101100
                                10011101011100100111
                                11111111100001100010
                                11011011000010111001
                                11011110110010111000
                                11011111111001111101
                                                       -D' 9$6#GC %%C
                                10001010000001111010
                                11111111111111111111
                                                       0.. <3B 6+$                                                             K0M06&180                     Z22F%0$ E1G0=,@>3
                                                       ($5 4'3@:"(4""".11.0                                                    W)')X >>'+T>**

                                                                                                                               [15$I 12 Z60$#9F18
                                                                                                                               "18G#L \ U$FG#L @=** 7" \ ?=-* ."

                                                                                                                               "1<FM0                          Z8MF80
                                                                                                                               B1R8M1#G                        RRRNFG<8LN%1;
                                                                                                                               ABC "1<FM0 766
                                                                                                                               WE1;F8/ H118X


  J15 #8G ABC C#8D
  K&#8D L15 21$ <0F8/ # M1L#M %MF089 12 ABC C#8DN O0 P#M50 L15$ <5IF80II #8G L15$ 9$5I9 F8 15$ 1$/#8FQ#9F18 #8G RFMM %189F850 91 6$1PFG0 L15 RF9& 9&0
  586#$#MM0M0G 60$I18#M I0$PF%0 L15 &#P0 %1;0 91 0S60%9 2$1; ABC C#8DN


  ]H .eK C#8DF8/ "" C]H                                                             "0;<0$ UBAE
  7%%1589 KF9M0=,VABBV_ r aZCA:HZ: VV.
  7%%1589 :5;<0$=,SSSSSSY?*'

  7%9FPF9L H5;;#$L                                                                                    A890$0I9 H5;;#$L
                                                                 E1589
  C0/F88F8/ <#M#8%0 18 *-f*'                                                  b)(>*Y('Y'NT-           7885#M 60$%089#/0 LF0MG 0#$80G                                     'N3*`
  B061IF9IfE$0GF9I                                                 ''             b3>()*@N--          A890$0I9 6#FG 9&FI 60$F1G                                      b'(-*TN??
                                                                                                      A890$0I9 6#FG L0#$+91+G#90                                     b>(?3*N*>
  A890$0I9 _#$80G                                                                  b'(-*TN??
                                                                                                      B#LI F8 I9#90;089 60$F1G                                              -'
  E&0%DIfB0<F9I                                                    )-          b)()@)(')?N'@
                                                                                                                                                K19#M 21$,           K19#M
  H0$PF%0 E&#$/0I
                                                                                                                                               9&FI 60$F1G        J0#$+91+B#90
  7K" OF9&G$#R#MI                                                   *                                 K19#M 1P0$G$#29 200I                           b*N**               b*N**

                                                                    *                                 K19#M $095$80G F90; 200I                      b*N**                b*N**
  .ZH OF9&G$#R#MI

  A890$0I9 OF9&&0MG

  ZP0$G$#29 A890$0I9 E&#$/0I

  _8GF8/ <#M#8%0 18 *-f-'                                                     b)T'(>3>N?'

  K$#8I#%9F18 [FI91$L
  B#90            B0I%$F69F18                                                                                         B0<F9I                     E$0GF9I               C#M#8%0
                  C0/F88F8/ <#M#8%0 18 *-f*'                                                                                                                    b)(>*Y('Y'NT-
  *-f*)           ""H U__H _tE WYX                                                                                    bY*N**                                      b)(>*Y('*'NT-
  *-f*-           E[_Eg '*--                                                                                       b)(***N**                                      b)(>*>('*'NT-
  *-f*-           E[_Eg '*)Y                                                                                       b>(>3TN**                                      b)(?@@(>--NT-
  *-f*-           E[_Eg '*-*                                                                                       b>(@'YN33                                      b)(?@-(3'3N'Y
  *-f*-           E[_Eg '*)@                                                                                       bY(@*)N>-                                      b)(?T>(Y'-N3?
  *-f*-           E[_Eg '*-@                                                                                      b'3(-@@N3@                                      b)(?3@(-'-N@>
  *-f*?           E[_Eg '*-'                                                                                          b'TN)*                                      b)(?3@()@>NY>
  *-f*?           B_. aK: EVZH_ 7EEK i'*')                                                                           bY')N>*                                      b)(?3T(>T-N)>
  *-f*?           HfE B_. aK:                                                                                         b'*N**                                      b)(?3T(>Y-N)>
             19-12346-shl              Doc 261        Filed 04/21/20 Entered 04/21/20 10:57:58             Main Document
                                                                  Pg 14 of 29
"#$%& '( )*)* +,"#$%& -'( )*)*,,   .#/0,) 12,T,, , 4$156 7%%1589 :5;<0$=,>3?@Y*
"#$%& '( )*)* +,"#$%& -'( )*)*,,   .#/0,) 12,>,, ,,,,,,,,,,,,,,,,,,,




  4.-2(-&+*/2 5*(+/.1""      #/2+ * 28%,6                                  "0;<0$ UBAE

  B#90           B0I%$F69F18                                                                   B0<F9I       E$0GF9I        C#M#8%0
  *-f*?          .CB-*?*                                                                   b)*(*>>N?@                 b)(??T(>'YNY3
                 U*-*?C'jT?>'E***)YT :KaU
                 .7JE[_t( A:E :_O JZag( :J
  *-f*>          E[_Eg '*)T                                                                   b)Y)N@3                 b)(??T()??NT*
  *-f*>          ""H U__H _tE W)X                                                              b)*N**                 b)(??T())?NT*
  *-f*3          ""H U__H _tE                                                                  b'*N**                 b)(??T()'?NT*
  *-f'*          AEH Ka7:HU_a                                                            b)()**(**-N**                  b)?T()''NT*
                 A:K_a:7V KaUAEB :_O 7EEK K:KaU
                 C:J 7H E]HKZBA7: >'' >K[ 7e_
  *-f''          a_eN""H U__ *-f''f)*                                                                       b'*N**      b)?T())'NT*
  *-f''          a_eN""H U__ *-f*3f)*                                                                       b'*N**      b)?T()-'NT*
  *-f''          a_eN""H U__ *-f*>f)*                                                                       b)*N**      b)?T()>'NT*
  *-f''          a_eN""H U__ *-f*)f)*                                                                       bY*N**      b)?T(-)'NT*
  *-f''          ""H U__H _tE                                                                  b'*N**                   b)?T(-''NT*
  *-f')          U__ a_e_aH7V                                                                                 b-N**     b)?T(-'?NT*
                 a_e_aH7V ZU U__ BKB -f'* :KaU
                 U__H EZa. V_:BA:4 :_O JZag :J
  *-f'3          :Z:a_U                                                                                  b)?(@@*N**     b)Y-(-*?NT*
                 E7aV CZ:B_       :KaU
                 E7aV ]VUHHZ: CZ:B_:_O JZag
  *-f'Y          U__ a_e_aH7V                                                                               b'*N**      b)Y-(-'?NT*
                 a_e_aH7V ZU U__ BKB -f'@ :KaU
                 U__H EZa. V_:BA:4 :_O JZag :J
  *-f'Y          :JH BKU .AK K#S .#L;89                                                     b'(>**N**                   b)Y'(T'?NT*
                 .V)*@>>*3T*@
  *-f'T          ""H U__H _tE                                                                  b'*N**                   b)Y'(T*?NT*
  *-f'T          :JE B_.K ZU UA:7 K7t.7J"_:K                                               b'*(***N**                   b)3'(T*?NT*
                 VABBV_ r aZCA:HZ: VV.
  *-f'@          ""H U__H _tE                                                                  b'*N**                   b)3'(Y@?NT*
  *-f)*          .CB-*?*                                                                    b'(->@N3Y                   b)3*(?->N'-
                 U*-)*C'jT?>'E***)TY :KaU
                 .7JE[_t( A:E :_O JZag( :J
  *-f)*          .CB-*?*                                                                   b)*(*>>N?@                   b)?*(-Y@N3?
                 U*-)*C'jT?>'E***)TT :KaU
                 .7JE[_t( A:E :_O JZag( :J
  *-f)-          :Z:a_U                                                                                    b'**N**      b)?*(?Y@N3?
                 KOZ U__ a_e_aHV7H UZa -f)*:KaU
                 U__H EZa. V_:BA:4 :_O JZag :J
  *-f)-          ""H U__H _tE W)X                                                              b)*N**                   b)?*(?>@N3?
  *-f)?          CZ[ ZU )*f*-f)?                                                                         b-@(@Y3N--     b)T*(?->N@Y
                 ag.: a_ B7:KoA4     :KaU
                 a7HEZ gVZEg ._a_o :_O JZag :J
  *-f)3          U__ a_e_aH7V                                                                               b'*N**      b)T*(??>N@Y
                 a_e_aH7V ZU U__ BKB -f)? :KaU
                 U__H EZa. V_:BA:4 :_O JZag :J
  *-f)3          :Z:a_U                                                                                     b'*N**      b)T*(?>>N@Y
                 U__ a_e_aH7V BKB *-f)? :KaU
                 U__H EZa. V_:BA:4 :_O JZag :J
  *-f-'          A:K_a_HK Ea_BAK                                                                          b'(-*TN??     b)T'(Y3?N?'
  *-f-'          E[_Eg '*?@                                                                   b'@@N**                   b)T'(>3>N?'
                 _8GF8/ <#M#8%0 18 *-f-'                                                                              b)T'( >3>N?'
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"#$%& '( )*)* +,"#$%& -'( )*)*,,      .#/0,- 12,T,, , 4$156 7%%1589 :5;<0$=,>3?@Y*
"#$%& '( )*)* +,"#$%& -'( )*)*,,      .#/0,- 12,>,, ,,,,,,,,,,,,,,,,,,,




 H5;;#$L 12 E&0%DI O$F9908 #8G A;#/0I""#$%&'( )*(+%, -.% -)(/ ,*(0)-1%, *2 +$% 0.%&%,*23 4.-2(-&+*/2 5*(+/.16




                                                                                                                                                                          9004-09-XX-XXXXXXX-0002-0016126
  :5;<0$             B#90              7;1589                :5;<0$          B#90         7;1589                :5;<0$          B#90           7;1589
  '*)Y              *-f*-              >(>3TN**              '*)T           *-f*>          )Y)N@3               '*)@           *-f*-           Y(@*)N>-

  '*-*              *-f*-              >(@'YN33              '*-'           *-f*?           'TN)*               '*--^          *-f*-           )(***N**

  '*-@^             *-f*-             '3(-@@N3@              '*?@^          *-f-'          '@@N**
  ^ A8GF%#90I %&0%D 159 12 I0h508%0


         K&F8/I 91 a0;0;<0$=
         K1 &0M6 L15 C7V7:E_ JZ]a E[_EgA:4 7EEZ]:K( PFIF9 W&996I=ffRRRNFG<8LN%1;f6G2IfI9#90;089<#M#8%0N6G2X 91 PF0R 1$ G1R8M1#G # 6$F89#<M0 P0$IF18 12
         9&0 [1R 91 C#M#8%0 J15$ 7%%1589 O1$DI&009N
             19-12346-shl            Doc 261          Filed 04/21/20 Entered 04/21/20 10:57:58    Main Document
                                                                  Pg 16 of 29
"#$%& '( )*)* +,"#$%& -'( )*)*,,   .#/0,? 12,T,, , 4$156 7%%1589 :5;<0$=,>3?@Y*
"#$%& '( )*)* +,"#$%& -'( )*)*,,   .#/0,? 12,3,, ,,,,,,,,,,,,,,,,,,,




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  7899-.1 /: #$%&'( ;.*++%2 -2, <9-3%(""#/2+*28%,6




                                                                                                                                              9004-09-XX-XXXXXXX-0003-0016127
  E&0%D i'*)Y,,*-+*-+)*)*,,b>(>3TN**                  E&0%D i'*)T,,*-+*>+)*)*,,b)Y)N@3   E&0%D i'*)@,,*-+*-+)*)*,,bY(@*)N>-




  E&0%D i'*-*,,*-+*-+)*)*,,b>(@'YN33                  E&0%D i'*-',,*-+*?+)*)*,,b'TN)*    E&0%D i'*--,,*-+*-+)*)*,,b)(***N**




  E&0%D i'*-@,,*-+*-+)*)*,,b'3(-@@N3@                 E&0%D i'*?@,,*-+-'+)*)*,,b'@@N**   ,,,,
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                                                                  Pg 18 of 29
"#$%& '( )*)* +,"#$%& -'( )*)*,,   .#/0,3 12,T,, , 4$156 7%%1589 :5;<0$=,>3?@Y*
"#$%& '( )*)* +,"#$%& -'( )*)*,,   .#/0,3 12,Y,, ,,,,,,,,,,,,,,,,,,,




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"#$%& '( )*)* +,"#$%& -'( )*)*,,    .#/0,Y 12,T,, , 4$156 7%%1589 :5;<0$=,>3?@Y*
"#$%& '( )*)* +,"#$%& -'( )*)*,,    .#/0,Y 12,Y,, ,,,,,,,,,,,,,,,,,,,




    U1$ E18I5;0$ 7%%1589I Z8ML,             W78 7%%1589 _I9#<MFI&0G                U1$ E5I91;0$I RF9& C#IF% C#8DF8/ 7%%1589I Z8ML=




                                                                                                                                                                              9004-09-XX-XXXXXXX-0004-0016128
    .$F;#$FML U1$ .0$I18#M( U#;FML Z$ [15I0&1MG .5$61I0IX=
                                                                                   J15 #$0 #MM1R0G # ;#SF;5; 12 0F/&9 WTX RF9&G$#R#MI G5$F8/ 0#%&
                                                                                   I9#90;089 %L%M0 W#66$1SF;#90ML # -* G#L 60$F1GX RF9&159 9&0
                 A: E7H_ ZU _aaZaH Za j]_HKAZ:H 7CZ]K JZ]a
                                                                                   F;61IF9F18 12 #8 _S%0IIFP0 OF9&G$#R#M H0$PF%0 U00N 78 _S%0IIFP0
                            _V_EKaZ:AE Ka7:HU_aH
                                                                                   OF9&G$#R#M H0$PF%0 U00 RFMM <0 F;61I0G F2 L15 ;#D0 ;1$0 9&#8 0F/&9
                                                                                   WTX RF9&G$#R#MI G5$F8/ #8L 60$F1GF% I9#90;089 %L%M0N U1$ ;1$0
    _M0%9$18F% 9$#8I20$I W%#MM0G 9$#8I20$I <0M1RX ;0#8 W#X G061IF9I("
                                                                                   F821$;#9F18 18 _S%0IIFP0 OF9&G$#R#MI H0$PF%0 U00( 6M0#I0 $020$ 91
    RF9&G$#R#MI( 1$ 6#L;089I ;#G0 #9 #8 7K" 1$ I91$0 90$;F8#M( W<X <FMM,
                                                                                   9&0 lC#IF% C#8DF8/ 7%%1589 + C#IF% K0$;I #8G E18GF9F18Il
    6#L0$ 9$#8I20$I( W%X #MM 19&0$ 0M0%9$18F% 9$#8I20$I W0N/N 6#L$1MM
                                                                                   GFI%M1I5$0 6$1PFG0G 91 L15 #9 #%%1589 1608F8/ 1$ I60#D RF9& L15$
    G061IF9I(,H1%F#M H0%5$F9L G061IF9I( F8I5$#8%0 6#L;089I( 09%NXN
                                                                                   7%%1589 Z22F%0$N
    A2 L15 9&F8D L15$ I9#90;089 1$ $0%0F69 FI R$18/ 1$ F2 L15 800G ;1$0            O0 RFMM 819 %&#$/0 L15 21$ #8L RF9&G$#R#M L15 ;#D0 5IF8/ ABC C#8D
    F821$;#9F18 #<159 # 9$#8I20$ 18 9&0 I9#90;089 1$ $0%0F69(                      7K"IN Z9&0$ 200I ;F/&9 <0 %&#$/0G #9 818+6$16$F09L 7K"I <L 9&0
    K_V_.[Z:_ ]H Za OaAK_ ]H 7H HZZ: 7H JZ] E7: \ ]H_ K[_                          6$1PFGF8/ <#8D F8 9&0 #;1589 61I90G #9 9&0 $0I60%9FP0 7K"N A2 L15$
    K_V_.[Z:_ :]"C_a Za 7BBa_HH Z: K[_ UaZ:K ZU K[AH                               MF8D0G #%%1589 G10I 819 &#P0 I522F%F089 258GI 91 %1P0$ L15$
    HK7K_"_:KN                                                                     RF9&G$#R#M 9$#8I#%9F18( 9&0 9$#8I#%9F18 RFMM 819 <0 #59&1$FQ0GN
    O0 ;5I9 &0#$ 2$1; L15 81 M#90$ 9&#8 3* G#LI #290$ R0 I089 L15 9&0              7 RF9&G$#R#M RFMM <0 G00;0G 91 <0 ;#G0 R&08 $0%1$G0G 18 9&0
    UAaHK I9#90;089 18 R&F%& 9&0 0$$1$ 1$ 6$1<M0; #660#$0GN                        <11DI 12 ABC C#8D( R&F%& FI 819 80%0II#$FML 9&0 G#90 9&#9 L15
                                                                                   F8F9F#90G 9&0 9$#8I#%9F18N
            'X     K0MM 5I L15$ 8#;0 #8G #%%1589 85;<0$N
            )X     B0I%$F<0 9&0 0$$1$ 1$ 9&0 9$#8I20$ L15 #$0 58I5$0 #<159
                   #8G 0S6M#F8 #I %M0#$ML #I L15 %#8 R&L L15 <0MF0P0 F9 FI         U1$ E5I91;0$I RF9& 4M1<#M O0#M9& "#8#/0;089
                   #8 0$$1$ 1$ R&L L15 800G ;1$0 F821$;#9F18N                      7%%1589I Z8ML=
            -X     K0MM 5I 9&0 G1MM#$ #;1589 12 9&0 I5I60%90G 0$$1$N
                                                                                                          A:e_HK"_:K .aZE_HH
    O0 RFMM F8P0I9F/#90 L15$ %1;6M#F89 #8G RFMM %1$$0%9 #8L 0$$1$                  K&0 #II09 #MM1%#9F18 6$1%0II G0P0M16I <19& M18/+90$; WI9$#90/F%X #8G
    6$1;69MLN A2 R0 9#D0 ;1$0 9&#8 '* <5IF80II G#LI 91 G1 9&FI( R0 RFMM            I&1$90$+90$; W9#%9F%#MX $0%1;;08G#9F18IN K&0 I9$#90/F% $095$8I #$0
    %$0GF9 L15$ #%%1589 21$ 9&0 #;1589 L15 9&F8D FI F8 0$$1$( I1 9&#9 L15          G0P0M160G 5IF8/ 2FP0+L0#$ $FID( $095$8 #8G %1$$0M#9F18 6$1k0%9F18I 91
    RFMM &#P0 9&0 5I0 12 9&0 ;180L G5$F8/ 9&0 9F;0 F9 9#D0I 5I 91                  /080$#90 9&0 &F/&0I9 0S60%90G $095$8 21$ # /FP08 M0P0M 12 $FIDN K&0
    %1;6M090 15$ F8P0I9F/#9F18N                                                    1<k0%9FP0 12 9&0 9#%9F%#M $0%1;;08G#9F18I FI 91 &F/&MF/&9 F8P0I9;089
                                                                                   1661$958F9F0I G5$F8/ 9&0 80S9 ') ;189&I R&0$0 9&0 A8P0I9;089
    U1$ B1;0I9F% E1;;0$%F#MfC5IF80II 7%%1589I #8G"                                 .1MF%L E1;;F9900 I00I 0F9&0$ F8%$0#I0G 1661$958F9L 1$ $FIDN
    A890$8#9F18#M E5I91;0$I Z8ML=                                                  K&0 #II09 #MM1%#9F18 $0%1;;08G#9F18I #$0 G0P0M160G 9&$15/& 9&0
                                                                                   K#%9F%#M 7II09 7MM1%#9F18( E#6F9#M "#$D09I 7II5;69F18I #8G
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         [ZO O_ E7VE]V7K_ UA:7:E_ E[7a4_H a_H]VKA:4 UaZ""
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    60$F1G 9&#9 #$0 #66$1P0G 21$ 6#L;089 #9 15$ I1M0 GFI%$09F18( 9&#9              &/2+./)( -2, 9/,%)( ,/ 2/+ 0./9*(% -21 )%>%) /: 0%.:/.9-2&% /.
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            ?X     K&FI #;1589 FI 9&08 ;5M9F6MF0G <L 9&0 85;<0$ 12 G#LI F8         K0M0%1;;58F%#9F18I B0PF%0 21$ 9&0 B0#2 #9=
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       IDB Bank DDA Statement
       March 1, 2020 - March 31, 2020                    Page 1 of 2     Group Account Number: 565125
       March 1, 2020 - March 31, 2020                    Page 1 of 2




                                                                                                                                  Customer Service




                                                                                                                                                                                                            9004-09-XX-XXXXXXX-0001-0016315
                                                               0008939           SP        9004           -C09-P00000-I
                                                                                                                                         Main Office
                                                               BNY AS CUSTODIAN FOR VARIOUS ICS                                          511 Fifth Avenue
                                        10101010101010101010
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                                                               CUSTOMERS LIDDLE                                                          New York, NY 10017
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                                                               DO NOT MAIL-ATTN VALERIE LEE
                                        10001010000001111010
                                        11111111111111111111
                                                               511 5TH AVE 12TH FL                                                       Telephone                     Officer Code: 956
                                                               NEW YORK, NY 10017                                                        (212) 551-8500

                                                                                                                                         Hours of Operation
                                                                                                                                         Monday – Friday 9:00 AM – 4:30 PM

                                                                                                                                         Mobile                          Online
                                                                                                                                         Download                        www.idbny.com
                                                                                                                                         IDB Mobile App
                                                                                                                                         (Coming Soon)


          You and IDB Bank
          Thank you for being a loyal client of IDB Bank. We value your business and your trust in our organization and will continue to provide you with the
          unparalleled personal service you have come to expect from IDB Bank.


          ICS MMDA DBUS #2                                                                  Member FDIC
          Account Title: BNY AS CUSTODIAN FOR VARIOUS ICS LIDDLE & ROBINSON LL
          Account Number: xxxxxx0399

          Activity Summary                                                                                      Interest Summary
                                                                         Count
          Beginning balance on 03/09                                                              $0.00         Annual percentage yield earned                                     1.16%
          Deposits/Credits                                                   1          $2,200,000.00           Interest paid this period                                      $1,465.19
                                                                                                                Interest paid year-to-date                                     $1,465.19
          Interest Earned                                                                   $1,465.19
                                                                                                                Days in statement period                                              22
          Checks/Debits                                                      0
                                                                                                                                                          Total for            Total
          Service Charges
                                                                                                                                                         this period        Year-to-Date
          ATM Withdrawals                                                    0                                  Total overdraft fees                           $0.00               $0.00

                                                                             0                                  Total returned item fees                      $0.00                $0.00
          POS Withdrawals

          Interest Withheld

          Overdraft Interest Charges

          Ending balance on 03/31                                                     $2,201,465.19

          Transaction History
          Date            Description                                                                                           Debits                     Credits               Balance
                          Beginning balance on 03/09                                                                                                                               $0.00
          03/10           NONREF                                                                                                                   $2,200,000.00            $2,200,000.00
                          ICD NEW ACCT TRANSFER NTRF
                          LIDDLE & ROBINSON 711 3RD AVE
          03/31           INTEREST CREDIT                                                                                                                $1,465.19          $2,201,465.19
                          Ending balance on 03/31                                                                                                                        $2,201,465.19



                 Things to Remember:
                 To help you BALANCE YOUR CHECKING ACCOUNT, visit (https://www.idbny.com/pdfs/statementbalance.pdf) to view or download a printable version of
                 the How to Balance Your Account Worksheet.




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March 1, 2020 - March 31, 2020     Page 2 of 2     Group Account Number: 565125
March 1, 2020 - March 31, 2020     Page 2 of 2




    For Consumer Accounts Only              (An Account Established               For Customers with Basic Banking Accounts Only:
    Primarily For Personal, Family Or Household Purposes):
                                                                                  You are allowed a maximum of eight (8) withdrawals during each
                                                                                  statement cycle (approximately a 30 day period) without the
                IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR
                                                                                  imposition of an Excessive Withdrawal Service Fee. An Excessive
                           ELECTRONIC TRANSFERS
                                                                                  Withdrawal Service Fee will be imposed if you make more than eight
                                                                                  (8) withdrawals during any periodic statement cycle. For more
    Electronic transfers (called transfers below) mean (a) deposits,
                                                                                  information on Excessive Withdrawals Service Fee, please refer to
    withdrawals, or payments made at an ATM or store terminal, (b) bill
                                                                                  the "Basic Banking Account - Basic Terms and Conditions"
    payer transfers, (c) all other electronic transfers (e.g. payroll
                                                                                  disclosure provided to you at account opening or speak with your
    deposits, Social Security deposits, insurance payments, etc.).
                                                                                  Account Officer.
    If you think your statement or receipt is wrong or if you need more           We will not charge you for any withdrawal you make using IDB Bank
    information about a transfer on the statement or receipt,                     ATMs. Other fees might be charged at non-propriety ATMs by the
    TELEPHONE US OR WRITE US AS SOON AS YOU CAN – USE THE                         providing bank in the amount posted at the respective ATM. If your
    TELEPHONE NUMBER OR ADDRESS ON THE FRONT OF THIS                              linked account does not have sufficient funds to cover your
    STATEMENT.                                                                    withdrawal transaction, the transaction will not be authorized.
    We must hear from you no later than 60 days after we sent you the             A withdrawal will be deemed to be made when recorded on the
    FIRST statement on which the error or problem appeared.                       books of IDB Bank, which is not necessarily the date that you
                                                                                  initiated the transaction.
           1)     Tell us your name and account number.
           2)     Describe the error or the transfer you are unsure about
                  and explain as clearly as you can why you believe it is         For Customers with Global Wealth Management
                  an error or why you need more information.                      Accounts Only:
           3)     Tell us the dollar amount of the suspected error.
                                                                                                         INVESTMENT PROCESS
    We will investigate your complaint and will correct any error                 The asset allocation process develops both long-term (strategic) and
    promptly. If we take more than 10 business days to do this, we will           shorter-term (tactical) recommendations. The strategic returns are
    credit your account for the amount you think is in error, so that you         developed using five-year risk, return and correlation projections to
    will have the use of the money during the time it takes us to                 generate the highest expected return for a given level of risk. The
    complete our investigation.                                                   objective of the tactical recommendations is to highlight investment
                                                                                  opportunities during the next 12 months where the Investment
    For Domestic Commercial/Business Accounts and                                 Policy Committee sees either increased opportunity or risk.
    International Customers Only:                                                 The asset allocation recommendations are developed through the
                                                                                  Tactical Asset Allocation, Capital Markets Assumptions and
                                                                                  Investment Policy.
        HOW WE CALCULATE FINANCE CHARGES RESULTING FROM
             DISCRETIONARY PAYMENT OF OVERDRAFTS                                  Important Information: There are risks involved in investing
                                                                                  including possible loss of principal. There is no guarantee that the
    If any overdrafts are incurred in your account during a statement             investment objectives of any fund or strategy will be met. Risk
    period that are approved for payment at our sole discretion, that             controls and models do not promise any level of performance or
    overdraft amount will be subject to a Finance Charge based on the             guarantee against loss of principal.
    Annual Percentage Rate, which is disclosed on the
    Commercial/Business Accounts and International Customers                      Past performance is no guarantee of future results. Index
    Schedule of Fees. The Finance Charge shown on the front of your               performance returns do not reflect any management fees,
    statement is computed as follows:                                             transaction costs or expenses. It is not possible to invest directly in
                                                                                  any index. Returns of the indexes do not typically reflect the
                                                                                  deduction of investment management fees, trading costs or other
           1)     The overdraft portion of your balance, which includes           expenses. Indexes are the property of their respective owners, all
                  previous finance charges, is added on each day of the           rights reserved.
                  statement cycle, after all payments, advances and any
                  cash adjustments have been posted.                              Investment involves risks. International investing involves additional
                                                                                  risks, including risks related to foreign currency, limited liquidity,
           2)     This total is then divided by the number of days in the
                                                                                  less government regulation and the possibility of substantial
                  statement cycle to arrive at the average daily balance.
                                                                                  volatility due to adverse political, economic or other developments.
           3)     The average daily balance is then multiplied by the daily
                  periodic rate (1/365th of the Annual Percentage Rate,
                  except for business accounts, which is based on
                  1/360th.)                                                       For the hearing impaired only, use the Bank’s
           4)     This amount is then multiplied by the number of days in         Telecommunications Device for the Deaf at:
                  the statement cycle to arrive at the FINANCE CHARGE.
                                                                                  ·    (212) 551-8540 (for New York area customers);

                                                                                  ·    (310) 276-8437 (for California area customers); or

                                                                                  ·    (305) 682-3792 (for Florida area customers).

                                                                                                                                Form IDB 2002 (Rev. 03/12)
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    Welcome Rosita Sanchez at Israel Discount Bank of New York (48858)




                                        
           Institution Transaction Account No.   ICS Account ID                    ICS Transaction ID
           10399                                 2001056495                        3072808605




         Account Summary Information

           Account Owners                        Account Title
           Liddle & Robinson LLP                 Liddle & Robinson LLP
                                                 Jonathan L Flaxer as Chapter 11
                                                 Trustee

           Account Type                          Deposit Option
           Reciprocal                            Savings

           Interest Rate                         Program Withdrawal Count as of
           Custom Rate: 1.4405%                  3/10/2020
                                                 0 of 6




         Transaction Details

           Type                                  Transaction Amount                Reference Number
           Deposit                               $2,200,000.00                     Opening Deposits fr ****401

           Effective Date                        Submission Date                   Transaction Status
           3/10/2020                             3/9/2020 4:09:18 PM               Accepted for Allocation




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Citibank CBO Services    787                                                                                     001/R1/04F000
P.O. Box 6201                                                                                  000
Sioux Falls, SD 57117-6201                                                                     CITIBANK, N. A.

                 LIDDLE & ROBINSON LLP                                                         Control Account:
                 JONATHAN L FLAXER AS TRUSTEE                                                  4978162441
                 Attorney Trust
                 C/O GOLENBOCK EISEMAN                                                         Statement Period
                 711 THIRD AVENUE FLR 17TH                                                     Feb 19 - Mar 16, 2020
                 NEW YORK              NY 10017

                                                                                                            Page 1 of 3



CitiEscrow CONTROL ACCOUNT DETAIL FROM FEB 19, 2020 THRU MAR 16, 2020

CitiEscrow Control Checking
4978162441                                                                   Beginning Balance:                    $100.00
                                                                             Ending Balance:                       $100.00
Date Description                                                             Debits             Credits             Balance
03/16 INTEREST EARNED                                                                              0.08              100.08
03/16 INTEREST DEBIT                                                            0.08                                 100.00
      Total Debits/Credits                                                      0.08               0.08


                                       Your CitiEscrow Control Checking Account Rates
                           For Balances of:          $0 to $99,999         $100,000 and over
                            2/19 - 3/16                  1.050%                  1.050%



Average Balance Information
Average Ledger Balance this Statement Period                                100.00
Average Collected Balance this Statement Period                             100.00
Total Interest Earned Since Jan 1                                           132.17
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LIDDLE & ROBINSON LLP                     Account 4978162441      Page 2 of 3
JONATHAN L FLAXER AS TRUSTEE




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LIDDLE & ROBINSON LLP                                                Account 4978162441          Page 3 of 3
JONATHAN L FLAXER AS TRUSTEE

CUSTOMER SERVICE INFORMATION

IF YOU HAVE QUESTIONS ON:                        YOU CAN CALL:                             YOU CAN WRITE:
Escrow Deposit Account                           877-528-0990                              CitiBusiness
                                                 (For Speech and Hearing                   100 Citibank Drive
                                                 Impaired Customers Only                   San Antonio, TX 78245-9966
                                                 TDD: 800-788-0002)

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Citibank CBO Services    787                                                                                     001/R1/04F000
P.O. Box 6201                                                                                  000
Sioux Falls, SD 57117-6201                                                                     CITIBANK, N. A.

                 LIDDLE & ROBINSON LLP                                                         Control Account:
                 JONATHAN L FLAXER AS TRUSTEE                                                  4978162441
                 Attorney Trust
                 C/O GOLENBOCK EISEMAN                                                         Statement Period
                 711 THIRD AVENUE FLR 17TH                                                     Mar 17 - Apr 15, 2020
                 NEW YORK              NY 10017

                                                                                                            Page 1 of 3



CitiEscrow CONTROL ACCOUNT DETAIL FROM MAR 17, 2020 THRU APR 15, 2020

CitiEscrow Control Checking
4978162441                                                                   Beginning Balance:                    $100.00
                                                                             Ending Balance:                       $100.00
Date Description                                                             Debits             Credits             Balance
04/15 INTEREST EARNED                                                                              0.08              100.08
04/15 INTEREST DEBIT                                                            0.08                                 100.00
      Total Debits/Credits                                                      0.08               0.08


                                       Your CitiEscrow Control Checking Account Rates
                           For Balances of:          $0 to $99,999         $100,000 and over
                            3/17 - 3/31                  1.050%                  1.050%
                            4/01 - 4/15                  1.000%                  1.000%



Average Balance Information
Average Ledger Balance this Statement Period                                100.00
Average Collected Balance this Statement Period                             100.00
Total Interest Earned Since Jan 1                                           132.25
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LIDDLE & ROBINSON LLP                     Account 4978162441      Page 2 of 3
JONATHAN L FLAXER AS TRUSTEE




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LIDDLE & ROBINSON LLP                                                Account 4978162441          Page 3 of 3
JONATHAN L FLAXER AS TRUSTEE

CUSTOMER SERVICE INFORMATION

IF YOU HAVE QUESTIONS ON:                        YOU CAN CALL:                             YOU CAN WRITE:
Escrow Deposit Account                           877-528-0990                              CitiBusiness
                                                 (For Speech and Hearing                   100 Citibank Drive
                                                 Impaired Customers Only                   San Antonio, TX 78245-9966
                                                 TDD: 800-788-0002)

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